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                       Attorneys for Plaintiff, DAVID SCHATZ
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                  15
                                           UNITED STATES DISTRICT COURT
                  16
                                        SOUTHERN DISTRICT OF CALIFORNIA
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                  18
                       DAVID SCHATZ an individual,             Case No. 3:20-cv-00513-H-LL
                  19
                                  Plaintiff,                   JOINT NOTICE OF SETTLEMENT
                  20
                            v.                                 Complaint Filed: February 11, 2020
                  21                                           Trial Date:      November 30, 2021
                       FLOWERS BAKING CO. OF
                  22 HENDERSON, LLC, a Nevada limited
                     liability company; and DOES 1 through     District Judge:   Hon. Marilyn L. Huff
                  23 50, inclusive,                            Magistrate Judge: Hon. Linda Lopez

                  24              Defendant.
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                                                                                Case No. 3:20-cv-00513-H-LL
                                                  JOINT NOTICE OF SETTLEMENT
                  Case 3:20-cv-00513-H-LL Document 68 Filed 09/16/21 PageID.1144 Page 2 of 4



                   1         Plaintiff David Schatz and Defendant Flowers Baking Co. of Henderson, LLC
                   2   hereby jointly advise the Court that they have agreed to settle this matter. The parties
                   3   are working towards fully executing the settlement agreement, and will file a
                   4   Stipulation of Dismissal of the action, with prejudice, as soon as possible. The parties
                   5   request the Court take all trial-related dates off calendar.
                   6

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                   8   DATED: September 16, 2021                OGLETREE, DEAKINS, NASH, SMOAK &
                                                                STEWART, P.C.
                   9

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                  11                                            By: /s/ Frank L. Tobin
                                                                    Frank L. Tobin
                  12                                                Alison K. Adelman
                                                                    Attorneys for Defendant, FLOWERS
                  13                                                BAKING CO. OF HENDERSON, LLC
                  14
                       DATED: September 16, 2021                THE LAW OFFICE OF MATT BLUM
                  15

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                  17                                            By: /s/ Matt Blum________
                                                                    Matt Blum
                  18                                                Attorneys for Plaintiff, DAVID SCHATZ
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                                                      JOINT NOTICE OF SETTLEMENT
                  Case 3:20-cv-00513-H-LL Document 68 Filed 09/16/21 PageID.1145 Page 3 of 4



                   1                            SIGNATURE CERTIFICATION
                   2         Pursuant to Section 2(f)(4) of the Electronic Case Filing Administrative Policies
                   3   and Procedures Manual, I hereby certify that the content of this document is acceptable
                   4   to Matt Blum, counsel for Plaintiff, and that I have obtained Mr. Blum’s authorization
                   5   to affix his electronic signature to this document.
                   6

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                   8                                                  By: /s/ Frank L. Tobin
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                                                                        Frank L. Tobin

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                                                     JOINT NOTICE OF SETTLEMENT
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                   1                             CERTIFICATE OF SERVICE
                   2         I hereby certify that on September 16, 2021, I electronically filed the foregoing
                   3   with the Clerk of the Court using the CM/ECF system which will send notification of
                   4   such filing to the email addresses denoted on the Notice of Electronic Filing.
                   5         I certify under penalty of perjury under the laws of the United States of America
                   6   that the foregoing is true and correct. Executed on September 16, 2021.
                   7

                   8                                     By: /s/ Frank L. Tobin
                                                            Frank L. Tobin
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                                                    JOINT NOTICE OF SETTLEMENT
